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                 Exhibit A
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Amanda Finn On Behalf Of Amanda and          Finn



October 13, 2022

Hon. Nelson Román
The Hon. Charles L. Brieant Jr. Courthouse
300 Quarropas St
White Plains, NY 10601

To the Hon. Nelson Román:

          First of all, thank you for your close attention to Aaron’s case. I can only imagine the number of
important proceedings you oversee, and we really appreciate you taking the time to carefully consider
all aspects of this case even though they utilize your valuable time at length. Sincerely, I thank you.
          I am Amanda Finn, Aaron Finn’s wife and mother to our newborn son,             You might expect me
to tell you Aaron is a good man because he is my husband and father to my son, but quite the opposite
is true. He is my husband and son’s father because he is a good man. I would never claim he’s perfect,
but he is perfect for us. Since I was around seven years old, I dreamed of having a stable partner like
Aaron who would be a dedicated parent. I always wanted my children to have the benefit of two
present parents, including a strong, stable father because of my disappointment in my own father’s
absences during his lifelong battles with both alcohol and narcotics addictions before his mid-30s stroke.
Around that same time, my parents divorced, and watching my single mother nearly drive herself into
the ground trying to work and care for four children further solidified my concern about sharing
parenthood to build the stability I lacked for my children when I entered motherhood.
          I met Aaron in 2009 when I was 19. We started dating after a few short months. I was drawn to
him immediately because of how independent and responsible and kind he is. I didn’t know many 23-
year-olds who worked two jobs and lived alone, often sleeping in his car between shifts to gain what
little sleep he could. At the same time, I had the chance to observe him in a few conversations with his
parents and his (half-) brother Steve, and it struck me how respectful he was and how highly he values
family, which was surprisingly unusual for our peer group at the time.
          When we met, Aaron had already started the process of becoming a correction officer, and I
remember how excited he was. The position more stable with better benefits, but it also offered him an
opportunity to support law enforcement and related community outreach. He was humble when
discussing the opportunity and was genuinely interested in contributing to a greater cause of helping
people. I later learned that part of his interest was generated from the positive effect that a SHOCK
program had had on Steve and his addictions. After having observed Aaron in both a work environment
in managerial roles and home environments, I felt that he would be well-suited to the position. He has
an uncanny ability to relate to people and empathize with them regardless of their personal or social
background. He is direct, honest, and sincere, which has served him well in deescalating many a
conflict. Those traits have also served him well in our current property maintenance business, which has
been mostly been sustained through word-of-mouth referrals. Even customers facing frustrating



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situations like an unexpected or expensive repair have often expressed their appreciation for Aaron’s
open communication style and how reasonable and fair Aaron is in resolving issues and finding an
accessible price point. Because I work a day job in civil service, I don’t often have the opportunity to join
him at job sites, but in the handful of times that I have, customers have also frequently remarked just
how hardworking he is, too. I respect his adherence to a strict integrity most of all. He doesn’t take
advantage of a customer’s lack of knowledge to overcharge them, he owns any mistakes, and he
consistently completes work at higher quality than what a customer can reasonably expect without the
higher cost. Our hope is to slowly build the business over time since we are passionate about helping
people repair their lives, and both the flexible work schedule and engaging work help Aaron adjust his
day as needed to accommodate his daily struggles with ADHD and PTSD. We had discussed opening a
business for years, and I was happy to help him achieve that dream the way he helped with mine.
         My two biggest dreams in life were finishing my bachelor’s degree and becoming a mother.
After becoming engaged in 2011, I moved in with Aaron. I remember the engagement well because I
was 21 and didn’t experience the mindless giddy response that is prevalent in media. I rather paused for
a moment and questioned whether I was ready to commit to a forever relationship at such a young age.
Upon serious consideration, I knew I would be an imbecile to leave such a sweet, loving person out of
my life. My decision was partly influenced by the recent care I had witnessed him offer his parents after
his father’s stroke even when his father is obstinate about letting people help them. Aaron sacrificed
much of his minimal personal time to assist his father with paperwork related to his new disabilities and
transition into a forced early retirement. He would regularly drive Dad to doctors’ appointments and run
errands like picking up prescriptions or groceries. Even with these concerns about his parents and his
busy work schedule, he told me to not worry about any bills until after I had graduated. He was willing
to work hard and sacrifice his time and energy to ensure I could focus on my degree – a degree I almost
didn’t finish in the first place because of cost and the lack of a job market. His financial and emotional
support were invaluable.
         Fortunately, we both graduated from our respective schools (academy and college) a few
months apart and after another few months in our new, full-time positions, we were able to marry in
September 2013 through a very simple, unassuming, private wedding ceremony. We found we weren’t
interested in an event that was too complicated or extravagant. The next year, we celebrated at a casual
reception with family and friends. The subsequent few years were filled with hard work to pay off debt
and family time, especially with his homebound, elder, disabled parents who were and are needing
more and more help every day. We watched his father’s mobility slowly decline, especially in a house
that had narrow doorways and hallways that were unaccommodating to a very large man in an
oversized wheelchair. In fact, we were spending so much time helping them that when the opportunity
to buy the house across the street from our trailer at a reasonable price presented itself in 2017, we
pooled all of our retirement and savings to buy it. From there, Aaron and I continued to work and
steadily improve its accessibility which later enabled Daddy Finn to have a space that was open enough
for him yet was also private enough to give them their own space which has been crucial to their mental
health. Aaron always felt they tried their hardest to provide for him even when they had no resources,
so we have been struggling to keep them out of a nursing home to honor them even while our own
resources have dwindled in the process. Our biggest concern was and has been that their fixed, limited
income could ultimately result in homelessness or a move to a nursing home without our shared effort


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to house and protect them. The poor reputation of most nursing homes makes that option especially
daunting even though most people we know have opted for nursing home care. Aaron regularly aids his
parents (especially Dad) in attending doctor’s appointments, retrieving prescriptions and groceries,
assisting with technology issues, assisting with government applications like all of the complicated ones
for public assistance, repairing everything from wheelchairs to phones, and maintaining the property
through help with tasks like lawn care or general repairs. He is also the family mechanic. I‘ve lost count
of how many times he dropped his plans to help a friend or family member with anything from a brake
or oil change to a full suspension repair, and I can’t remember him charging anyone even one time
except for any necessary parts.
          Our family and friends do not know what we would do without him. I try hard to offer help in
many of these matters, but there are just some things that Aaron understands that I never will. I respect
that Aaron has continued to value and support all his family and friends even through some of toughest
years we’ve ever faced. For context, 2017 was a rough start to a long series of trauma and crises in the
following years. I mentioned buying the house to help his parents. I didn’t mention yet the four close
family deaths we experienced that year, which included two funeral trips to Texas. Despite the strain on
our finances, Aaron’s idea to front the money for a couple of plane tickets for my siblings made their
trips possible. In 2018, our finances were further exacerbated when I underwent two necessary job
changes to address certain physical and mental health concerns I had. Like when I was in college, Aaron
unequivocally supported our households. At the end of January 2019, Steve died unexpectedly just a
few days shy of his birthday; I remember Aaron carefully attending to their mother, who signed Steve’s
death certificate on Steve’s birthday. Just a few months later, my own father was diagnosed with an
extremely aggressive bone cancer, which led to the amputation of his leg. Unfortunately, the effort was
too little too late and the cancer metastasized and he suffered over the course of the rest of the year, so
while attempting to process his own grief, I was less emotionally available to Aaron than I normally
would’ve been, and it has been very hard for his parents to cope as well.
          Come September 2019, Aaron experienced his first worker’s compensation incident in all his
nearly seven years of working as a C.O. when he dealt with the aftermath of a blood exposure. I
remember thinking how remarkable it was that he hadn’t ended up with a claim sooner even when he
had participated in uses of force with unruly inmates as part of C.E.R.T. team activities, a team he only
left because his time commitments to helping his father were in direct conflict with his commitments to
team obligations like training. I remember him having other opportunities to file possible worker’s
compensation claims in the past but him not being interested unless he experienced a truly serious
injury. The September incident bothered us for another reason. Because Aaron didn’t experience any
major physical injuries, the administration did not take the blood exposure seriously. A blood exposure
in a facility where inmates have been known to carry infectious diseases or components like HIV or
tuberculosis should have been instantly addressed without issue. Instead, Aaron had to argue about
receiving proper care and was eventually directed to an infectious disease physician to receive “the
cocktail” and reduce his chances of developing detrimental and dangerous diseases like AIDS. We were
worried about the administration’s apparent lack of concern for his health and safety, but we couldn’t
afford for him to leave his job or lose our benefits which were substantially better than most places
offer anywhere in the state, especially since it was now more important than ever to support both the
trailer and the house after his parents moved into the house over the preceding Summer.


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          Aaron had only been back to work for around two weeks and another young family member had
just died before he was then stabbed multiple times in his next use of force in October 2019. I
remember being shocked at the news about the attack on Aaron. I accompanied him on his follow-up
visit to our FNP and remember her saying something to the effect of “it’s hard to tell, but it could’ve
missed the artery in his neck by millimeters” when referring to the most dangerous of the punctures.
What I understood from the evaluation and just looking at his visible injuries was that an inmate
attempted to murder my husband and would’ve succeeded had the implement used been more
effective at stabbing. We learned sometime later that several officers and inmates stood around and
watched while the stabbing happened even though Aaron begged for help as he secured the inmate
through body holds only. I don’t think either of us fully processed that event at the time since it was so
unbelievable and we were distracted with my father’s ailing health. What’s more disturbing than Aaron
being left defenseless was that there was no follow through in the justice system afterwards. We tried
to follow through but were told by state police that there wasn’t enough evidence to prosecute even
though it happened in a state law enforcement agency at a secured facility and there was body camera
footage of the stabbing. The very criminal justice system that Aaron had supported for years denied him
any justice or support and it was disheartening to say the least, especially on the heels of the September
incident. Aaron and I both wondered: How could fellow officers abandon him when he always supported
them by doing things like swapping holidays so parents could be home with their children? How could
the administration not seek serious consequences for an inmate attempting to murder one of their own
officers? How are officers supposed to feel safe without serious consequences for dangerous actions?
          In hindsight, it should not be surprising that Aaron developed PTSD, but without the fight-or-
flight triggers of the prison environment, we had no indication he had developed PTSD in addition to his
ADHD. As I mentioned, my father was also on his deathbed, so we could’ve easily missed any signs as
well. He died January 6, 2020, and we returned from his funeral close to the one-year anniversary of
Steve’s death. A couple of weeks later, Aaron was suddenly and quickly cleared to return to work on or
around Valentine’s Day most likely due to general staffing shortages. He was worried about returning to
work given his last two uses of force, but our finances were further depleted related to my father’s
death and we were eager to recover as soon as possible. About a month later in the first week of the
pandemic chaos, I remember Aaron mentioning officers were initially denied PPE, so they were worried
about their health. It was during this week that the use of force precipitating this case happened and
that we discovered Aaron’s PTSD. After the incident, he worried about whether it was possible for him
to hurt me or another family member. He was immediately remorseful about the assault. After spending
some time learning about his new diagnosis of PTSD, we ultimately decided it would be best for Aaron
to resign from NYS DOCCS and to work full-time in our business where the fight-or-flight triggers should
be relatively nonexistent. Since the March 2020 incident, we’ve lost our 15-year-old cat, Tammy, a
family friend, and three more family members, including Aaron’s uncle. We have also grieved a lot since
Aaron’s arrest over the loss of a future we once imagined and that is now not possible with Aaron’s
felon status. His arrest was only a few days after we discovered through a home test that I was pregnant
and before my first prenatal visit to confirm the pregnancy. Without familiarity on this side of the law,
we didn’t know if he could be imprisoned at any moment and constantly worried that he wouldn’t be
around to help me through the rest of an already difficult pregnancy or that he wouldn’t be able to meet
and raise our son with me. We have also not been able to grow our business without understanding


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what the future holds since it would not be fair or moral to promise services to clients that may never
happen. In turn, we have not been profiting the way we hoped to recover from our dire financial
situation. In light of this pain already suffered, I would respectfully request that my husband, Aaron, not
be subjected to a prison environment again where his PTSD triggers would make him worse and, in turn,
make society worse for the loss of a stable parent, supportive son, able-bodied blue collar worker, and
small business owner. Instead, I would request that Aaron be allowed to continue supervised release for
a period of time during which he can remain the primary daytime childcare provider for         as originally
planned, the primary support system for his elder, homebound, disabled parents, as well as the second
parent and income source. Without him, I will be a single mother and single daughter-in-law who cannot
afford paid childcare and who is worried about maintaining the house sheltering his parents because
Aaron and I have always worked as a team to make ends meet in the 13 years I’ve known and 9 years
I’ve been married to him. If nothing else, I fear the detrimental effect of unnecessarily separating a
father and son who are madly in love with each other. If you take nothing else away from this letter, it
should be that I am respectfully requesting that you show mercy and kindness to our newborn boy, ,
by letting his father help raise him and help give him the two-parent stable structure he deserves. I am
asking you for my son’s life. Thank you sincerely for listening to my concerns and reading through my
letter of support for Aaron. We eagerly await your decision.



                Kindest Regards,




                Amanda Finn On Behalf Of Amanda and          Finn




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